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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF INDIANA

INDIANAPOLIS DIVISION
IN RE:
Dawnyl Terasa Frew CASE NO. l7-08218-JMC-7A
CHAPTER 7
Debtor

MOTION FOR ORDER AUTHORIZING
ABANDONMENT AND MODIFYING AUTOMATIC STAY

Comes now Wilmington Trust, National Association, not in its individual capacity, but solely as trustee for MFRA

Trust 2014-2, ("Creditor"), by and through its attomey, Codilis Law, LLC, and in support of its Motion for Order

Authorizing Abandonment and Modifying Automatic Stay, states as follows:

l.

The Creditor is the holder of a mortgage on the property located at 9008 Lighthorse Drive, Indianapolis, lN
46231-4510.

The Creditor holds a security interest in said property by way of written instruments, which were perfected
as provided by law. True and exact copies of said instruments, with proof of perfection, are attached hereto
and made a part hereof.

As of November 24, 2017 the payoff amount is $120,254.36 and the interest rate is 5.75000% per annum.

Schedule D lists other secured creditors with claims totaling $800.00 against the real estate.

The real estate is valued at $136,800.00 on the bankruptcy schedules

The debtor claims an exemption of $ l 9,300.00 with respect to the subject property.

The Statement of lntention calls for surrender of the real estate to Crcditor. The automatic stay should be
modified pursuant to ll U.S.C. §362(d)(l).

Said property is of inconsequential value and benefit to the estate and should be abandoned from the
bankruptcy estate pursuant to ll U.S.C. §554(b).

The creditor hereby waives the right under l l U.S.C. §362(e) to a hearing on this motion within thirty (30)

days of the date it is filed.

WHEREFORE, this Creditor requests that:

l.

2.

The Automatic Stay of this proceeding be terminated as to this Creditor, its agents, successors and assigns.

The subject property be abandoned from the bankruptcy estate.

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3. That the Court waive the fourteen day stay of the Order granting this motion, pursuant to Bankruptcy Rule

4001(&)(3); and

4. For any and all otherjust and proper relief that the Court sees fit.

Attorneys for Creditor

Kristin l_.. Durianski 24866-64

Codilis Law, LLC
Arty File: 1028522

 

This firm is deemed to be a debt collector.

CERTIFICA'I`E OF SERVICE

l certify that on gilmgg[i¥ iCi,ZOi 3 , a copy of the attached was filed electronically. Notice of this filing will be
sent to the following parties through the Coiirt's Electronic Case Filing System. Parties may access this filing

through the Court‘s system.

Nathan W. Gooden; ngooden@i‘edmanludwig.com
Gregory Silver; trusteegksilver@yahoo.com
Unitecl States Trustee, S.D., IN; ustprcgion l O.in.eci"@usdoj.gov

I further certify that on d(]mM(l_,l'-jl iciizoi K, a copy of the attached was mailed by depositing in the U.S. Mail to

the following:

Dawnyl Terasa Frew
9008 Lighthorse Dr.
lndianapolis, IN 46231

Attoi'neys for Creditor

By: 'K,U:djl/\ c`£/ DMM‘Pi\d{/\

Kristin L. Durianski 24866-64

 

Codilis Law, LLC

8050 Cleveland Place
Merril|ville, lN 46410
(2]9) 736-5579
bankruptcy@codilis.com
Atty File: 1028522

 

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After Recording Reti.irn To:

U'NION EQUIT¥ CORPORATION

9100 KEYSTONE CROSSING, SUITE 460
INDIANAPOLIS, INDIANA 46240

Loan Nuinber:

` -_---__ [Space Above This Line For Recording Data]

i MORTGAGE

DEF|N|T|ONS

Words used in multiple sections of this document are defined below and other words are defined iri Sections 3. 11,
i. 4 13, 18, 20 and 21. Certain niles regarding the usage of words used in this document are also provided in Section 16.

(A) "Security lnstrument" means this document, which is`da`ted' AUGUST 2 , 2 005 , together
with all Riders to this document.
(B) "Borrower" is DAWNYL FREW

Borrower is the mortgagor under this Security Instrunient.
(C) "l.ender" is UNION EQUITY CORPOR.ATION

Lender is a INDIANA CORPORA'I‘ION - organized
and existing under the laws oi` INDIANA .
Lender's address is 9100 KEYSTONE CROSSING, SUITE 4 6 0 , INDIANAPOLI S ,
INDIANA 4 6 2 4 0 4

Lender` is the mortgagee under this Security Instrument.

(D) "Note" means the promissory note signed by Borrower and dated AUGUS'I` 2, 2 0 05

The Note states that Borrower owes Lender ONE HUNDRED TWENT¥ THOUSAND FIVE
nuNDRED AND 00/100 Doiiars(U.S.slzo,_'-',oo.oo )
plus tnterest. Borrower has promised to pay this debt in regular Periodic Payments and to pay the debt in full not later
than SEPTEMBER l, 2035

(E) "Property" means the property that' is described below under the heading "'l`ransfer of Rights` in the Property"

Borrower lnltials: AQ:

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(F) "Loan" means the debt evidenced by the Note, plus interest, any prepayment charges and late charges due under
the Note. and ali sums due under this Security lnstrument, plus interest.

(C) "Riders" means all Riders to this Security Instmment that are executed by Borrower. The following Riders are
to be executed by Borrower [check box as applicable]:

{:| Adjustable Rate Rider |:| Condominium Rider |:] Second Home Rider
[] Balloon Rider [} Planned UnitDevelopment Rider § Other(s) [specifyl
\:] 1-4 Family Rider m Biweeidy PaymentRider PREPAYMENT RIDER

TO SECURITY INS'I‘

(H) "Applicable Law" means all controlling applicable federal, state and local statutes, regulations, ordinances and
i administrative rules and orders (that have the effect of law) as well as all applicable finai. non-appealable judicial
opinions.
(I} "Community Association Dues, Fees, and Assessments" means all dues, fees, assessments and other charges
that are imposed on Bormwer or the Property by a condominium association, homeowners association or similar
organization
` (J) "Electronic Funds Transf`er" means any transfer of funds, other than a transaction originated by check, draft,
or similar paper instrument. which is initiated through an electronic terminal, telephonic instrument, computer, or
magnetic tape so as to order, instruct, or authorize a financial institution to debit or credit an account. Such term
includesl but is not limited to, point-of-sale transfers, automated teller machine transactions, transfers initiated by
telephone. wire transfers, and automated clearinghouse transfers
(K] "Escrow Iteins" means those items that are described iii Section 3.
(L) "Miscellaneous Proceeds" means any compensationl settlement, award of damages, or proceeds paid by any
third party (other than insurance proceeds paid under the coverages described in Sectlon 5) for: (i) damage to, or
destruction of, the Property; (ii) condemnation or other taking of all or any part of the Property; (iii) conveyance in
lieu of condemnation', or (iv) misrepresentations of. or omissions as to, the value and/or condition of the Property.
(M) "Mortgage Insurance" means insurance protecting Lender against the nonpayment of, or default on, the Loan.
‘ ('N) "Periodic Payment" means the regularly scheduled amount due for (i) principal and interest under the Note.
plus (ii) any amounts under Section 3 of this Security Instrument.
(0) “RESPA" means the Real Estate Sett]ement Procedures Act (12 U.S.C. §2601 et seqr) and |ts implementing
regulation, Regulation X (24 C.F.R. Part 3500), as they might be amended from time to time, or any additional or
successor legislation or regulation that governs the same subject matter. As used in this Security lnstri.iment.
"RESPA" refers to all requirements and restrictions that are imposed in regard to a "f`ederally related mortgage loan"
even if the Loau does not qualify as a "federally related mortgage loan" under RESPA.
(P) "Successor in Interest of Borrower" means any party that has taken title to the Property, whether or not that
party has assumed Borrower`s obligations under the Note and/or this Security lnstrument. -

TRANSFER OF RlGHTS |N THE PROPERTY

Tiiis Security instrument secures to Lender: (i) the repayment of the Loan, and all renewals. extensions and
modifications of the Note; and (ii) the performance of Borrower's covenants and agreements under this Security
lnstniment and the Note. For this purpose, Borrower does hereby mortgage, grant and convey to Lender and Lender‘s
successors and assigns the following described property located in the
COUNTY of MARION
[Type of Recordlng Jurlsdictiunl [Name of R.ecord|ng _[urlsdict.ion]

SEE LEGAL DESCRIPTION ATTACHED HERETO AND MADE A PART HEREOF AS
EXHIBIT "A" .

Borrower lniti:il<; §

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which currently has the address of 9 0 0 B LIGHTHORSE DR.
[Streetl
INDIANAPOLI S , indiana 4 6 2 3 l ("Property Address"):
[Cltyl lZip Code]

TOGETHER WiTH all the improvements now or hereafter erected on the property. and all easements,
appurtenances and fixtures now or hereafter a part of the property. All replacements and additions shall also be
covered by this Security instrument. All of the foregoing is referred to in this Security instrument as the "Property. "

BORROWER COVENANTS that Borrower is lawfully seised of the estate hereby conveyed and has the right
to mortgage grant and convey the Property and that the Property is unencumbered, except for encumbrances of
record.. Borrower warrants and will defend generally the‘title to the Property against all claims and demands. subject
to any encumbrances of record.

THIS SECURITY INSTRUMENT combines uniform covenants for national use and non-uniform covenants with
limited variations by jurisdiction to constitute a uniform security instrument covering real property.

UN|FORM COVENANTS. Borrower and Lender covenant and agree as follows:

l. Payment of Principal, Interest, Escrow Items, Prepayment Charges, and Late Charges. Borrower shall
pay when due the principal of, and interest on, the debt evidenced by the Note and any prepayment charges and late
charges due under the Note. Borrower shall also pay funds for Escrow Items pursuant to Section 3. Payments due
under the Note and this Security Instrument shall be made iii U.S. currency. However, if any check or other
instrument received by Lender as payment under the Note or this Security Instrument is returned to Lender unpaid,
Lender may require that any or all subsequent payments due under the Note and this Security Instrument be made in
one or more of the following forms, as selected by Lender: (a) cash; (b) money order; (c) certified check, bank check,
treasurer's check or cashier‘s check, provided any such check is drawn upon an institution whose deposits are insured
by a federal agency, instrumentality, or entity; or (d) Electronic Funds Transfer.

Payments are deemed received by Lender when received at the location designated in the Note or at such other
location as may be designated by Lender in accordance with the notice provisions in Section 15. Lender may return
any payment or partial payment if the payment or partial payments are insufficient to bring the Loan current. Lender
may accept any payment or partial payment insufficient to bring the Loan current, without waiver of any rights
hereunder or prejudice to its rights to refuse such payment or partial payments in the future, but Lender is not
obligated to apply such payments at the time such payments are accepted. If each Periodic Payment is applied as of
its scheduled due date, then Lender need not pay interest on unapplied funds. Lender may hold such unapplied funds
until Borrower makes payment to bring the Loan current. If Borrower does not do so within a reasonable period of
time, Lender shall either apply such funds or return them to Borrower. If not applied earlier, such funds will be
applied to the outstanding principal balance under the Note immediately prior to foreclosure. No offset or claim
which Borrower might have now or tn the future against Lender shall relieve Borrower from making payments due
under the Note and this Security Instrument or performing the covenants and agreements secured by this Security
lnstrument.

Z. Application of Payments or Proceeds. Except as otherwise described in this Section 2, all paymean
accepted and applied by Lender shall be applied in the following order of priority: (a) interest due under the Note;
(b) principal due under the Note; (c) amounts due under Section 3. Such payments shall be applied to each Periodic
Payment in the order iii which it became due. Any remaining amounts shall be applied first to late charges. second
to any other amounts due under this Security Instrument, and then to reduce the principal balance of the Note.

If Lender receives a payment from Borrower for a delinquent Periodic Payment which includes a sufficient
amount to pay any late charge due. the payment may be applied to the delinquent payment and the late charge. If
more than one Periodic Payment is outstanding Lender may apply any payment received from Borrower to the
repayment of the Periodic Payments if, and to the extent that, each payment can be paid in full. To the extent that
any excess exists after the payment is applied to the full payment of one or more Periodic Payments, such excess may

Borrower lnitlals: /fé

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be applied to any late charges due. Voluntary prepayments shall be applied first to any prepayment charges and then
as described in the Note.

Any application of payments, insurance proceeds. 'or Miscellaneous Proceeds to principal due under the Note
shall not extend or postpone the due date, or change the amount. of the Periodic Payments.

3. Funds for Escrow Items. Borrower shall pay to Lender on the day Periodic Payments are due under the
Note. until the Note is paid in full, a sum (the "Funds") to provide for payment of amounts due for: (a) taxes and
assessments and other items which can attain priority over this Security Instrument as a lien or encumbrance on the
Property; (b) leasehold payments or ground rents on the Property, if any; (c) premiums for any and all insurance
required by Lender under Section 5; and (d) Mortgage Insurance premiums, if any, or any sums payable by Borrower
to Lender in lieu of the payment of Mortgage insurance premiums in accordance with the provisions of Section 10.
These items are called "Escrow items. " At origination or at any time during the term of the Loan. Lender may require
that Communlty Association Dues, Fees, and Assessments, if any, be escrowed by Borrower. and such dues, fees and
assessments shall be an Escrow ltem. Borrower shall promptly furnish to Lender all notices of amounts to be paid
under this Section. Borrower shall pay Lender the Funds for Escrow items unless Lender waives Borrower's
obligation to pay the Funds for any or all Escrow items. Lender may waive Borrower's obligation to pay to Lender
Funds for any or all Escrow Items at any time, Any such waiver may only be iii writing. In the event of such waiver,
Borrower shall pay directly, when and where payable. the amounts due for any Escrow Items for which payment of
Funds has been waived by Lender and, if Lender requires, shall furnish to Lender receipts evidencing such payment
within such time period as Lender may require. Borrower's obligation to make such payments and to provide receipts
shall for all purposes be deemed to be a covenant and agreement contained in this Security lnstrument, as the phrase
"covenant and agreement" is used in Section 9. If Borrower is obligated to pay Escrow Items directly, pursuant to
a waiver. and Borrower fails to pay the amount due for an Escrow ltem. Lender may exercise its rights under Section
9 and pay such amount and Borrower shall then be obligated under Section 9 to repay to Lender any such amount.
Lender may revoke the waiver as to any or all Escrow items at any time by a notice given in accordance with Section
15 and. upon such revocation, Borrower shall pay to Lender all Funds, and iii such amounts, that are then required
under this Section 3.

Lender may, at any time, collect and hold Funds iii an amount (a) sufficient to permit Lender to apply the Funds
at the time specified under RESPA, and (b) not to exceed the maximum amount a lender can require under RESPA.
Lender shall estimate the amount of Funds due on the basis of current data and reasonable estimates of expenditures
of future Escrow Items or otherwise in accordance with Applicable Law.

The Funds shall be held in an institution whose deposits are insured by a federal agency, instrumentality, or
entity (including Lender, if Lender is an institution whose deposits are so insured) or in any Federal Home Loan
Bank. Lender shall apply the Funds to pay the Escrow items no later than the time specified under RESPAr Lender
shall not charge Borrower for holding and applying the Funds, annually analyzing the escrow account, or verifying
the Escrow ltems, unless Lender pays Borrower interest on the Funds and Applicable Law permits Lender to make
such a charge. Unless an agreement is made iii writing or Applicable Law requires interest to be paid on the Funds,
Lender shall not be required to pay Borrower any interest or earnings on the Funds. Borrower and Lender can agree
in writing, however, that interest shall be paid on the Funds. Lender shall give to Borrower, without charge. an
annual accounting of the Funds as required by RESPA. '

lf there is a surplus of Funds held iii escrow, as defined under RESPA, Lender shall account to Borrower for

- the excess funds iri accordance with RESPA. lf there is a shortage of Funds held in escrow, as defined under RESPA,
Lender shall notify Borrower as required by RESPA, and Borrower shall pay to Lender the amount necessary to make
up the shortage in accordance with RESPA, but in no more than 12 monthly payments. If there is a deficiency of
Funds held in escrow, as defined under RESPA, Lender shall notify Borrower as required by RESPA, and Borrower
shall pay to Lender the amount necessary to make up the deficiency in accordance with RESPA, but in no more than
12 monthly payments

Upon payment in full of all sums secured by this Security lnstrument. Lender shall promptly refund to Borrower
any Funds held by Lender.

4. Charges; Liens. Borrower shall pay all taxes, assessments, charges, fines, and impositions attributable to
the Property which can attain priority over this Security Instrument, leasehold payments or ground rents on the

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Property, if any, and Community Associatlon Dues, Fees, and Assessments, if any. To the extent that these items
are Escrow items, Borrower shall pay them in the manner provided in Section 3.

Borrower shall promptly discharge any lien which has priority over this Security Instrument unless Borrower.
(a) agrees in writing to the payment of the obligation secured by the lien in a manner acceptable to Lender, but only
so long as Borrower is performing such agreement; (b) contests the lien in good faith by, or defends against
enforcement of the lien in, legal proceedings which in Lender‘s opinion operate to prevent the enforcement of the lien
while those proceedings are pending, but only until such proceedings are concluded; or (c) secures from the holder
of the lien an agreement satisfactory to Lender subordinating the lien to this Security instrument if Lender
determines that any part of the Property is subject to a lien which can attain priority over this Security lnstrument.
Lender may give Borrower a notice identifying the lien. Within 10 days of the date on which that notice is given,
Borrower shall satisfy the lien or take one or more of the actions set forth above in this Section 4.

Lender may require Borrower to pay a one-time charge for a real estate tax verification and/or reporting service
used by Lender in connection with this Loan.

5. Property Insurance. Borrower shall keep the improvements now existing or hereafter erected on the
Property insured against loss by fire, hazards included within the term "extended coverage," and any other hazards
including, but not limited to, earthquakes and floods, for which Lender requires insurance. This insurance shall be
maintained in the amounts (including deductible levels) and for the periods that Lender requires. What Lender
requires pursuant to the preceding sentences can change during the term of the Loan. The insurance carrier providing
the insurance shall be chosen by Borrower subject to Lender's right to disapprove Borrower's choice, which right shall
not be exercised unreasonably. Lender may require Borrower to pay. in connection with this Loan. either: (a) a one-
tit!te charge for flood zone determination, certification and tracking services; or (b) a one-time charge for flood zone
determination and certification services and subsequent charges each time remappings or similar changes occur which
reasonably might affect such determination or certification.- Borrower shall also be responsible for the payment of
any fees imposed by the Federal Emergency Management Agency in connection with the review of any flood zone
determination resulting from an objection by Borrower.

if Borrower fails to maintain any of the coverages described above, Lender may obtain insurance coverage, at
Lender‘s option and Borrower's expense. Lender is under no obligation to purchase any particular type or amount
of coverage. Therefore, such coverage shall cover Lender, but might or might not protect Borrower. Borrower's
equity in the Property, or the contents of the Property, against any risk, hazard or liability and might provide greater
or lesser coverage than was previously in effect. Borrower acknowledges that the cost of the insurance coverage so
obtained might significantly exceed the cost of insurance that Borrower could have obtained. Any amounts disbursed
by Lender under this Section 5 shall become additional debt of Borrower secured by this Security Instrumentr These
amounts shall bear interest at the Note rate from the date of disbursement and shall be payable. with such interest,
upon notice from Lender to Borrower requesting payment.

All insurance policies required by Lender and renewals of such policies shall be subject to Lender‘s right to
disapprove such poiicies, shall include a standard mortgage ciause, and shall name Lender as mortgagee and/or as an
additional loss payee. Lender shall have the right to hold the policies and renewal certificates if Lender requires,
Borrower shall promptly give to Lender all receipts of paid premiums and renewal notices, if Borrower obtains any
form of insurance coverage, not otherwise required by Lender, for damage to, or destruction of, the Property, such
policy shall include a standard mortgage clause and shall name Lender as mortgagee and/or as an additional loss
payee.

In the event of loss, Borrower shall give prompt notice to the insurance carrier and Lender, Lender may make
proof of loss if not made promptly by Borrower. Uniess Lender and Borrower otherwise agree in writing, any
insurance proceed.s. whether or not the underlying insurance was required by Lender, shall be applied to restoration
or repair of the Property, if the restoration or repair is economically feasible and Lender‘s security is not lessened.
During such repair and restoration period, Lender shall have the right to hold such insurance proceeds until Lender
has had an opportunity to inspect such Property to ensure the work,has been completed to Lender‘s satisfaction,
provided that such inspection shall be undertaken promptly. Lender may disburse proceeds for the repairs and
restoration in a single payment or in a series of progress payments as the work is completed. Uniess an agreement
is made in writing or Appiicable Law requires interest to be paid on such insurance proceeds, Lender shall not be
required to pay Borrower any interest or earnings on such proceeds. Fees for public adjusters, or other third parties.

Borrower Initials: 4

 

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retained by Borrower shall not be paid out of the insurance proceeds and shall be the sole obligation of Borrower.
if the restoration or repair is not economically feasible or Lender's security would he lessened, the insurance proceeds
shall be applied to the sums secured by this Security instrument, whether or not then due. with the excess. if any, paid
to Borrower. Such insurance proceeds shall be applied in the order provided for in Section 2.
if Borrower abandons the Property, Lender may file. negotiate and settle any available insurance claim and
related matters. lf Borrower does not respond within 30 days to a notice from Lender that the insurance carrier has
offered to settle a claim, then Lender may negotiate and settle the ciaim. The 30-day period will begin when the
. notice is given. in either event, or if Lender acquires the Property under Section 22 or otherwise, Borrower hereby
assigns to Lender (a) Borrower's rights to any insurance proceeds in an amount not to exceed the amounts unpaid
under the Note or this Security instrument, and (b) any other of Borrower's rights (other than the right to any refund
of unearned premiums paid by Borrower) under all insurance policies covering the Property, insofar as such rights
are applicable to the coverage of the Property. Lender may use the insurance proceeds either to repair or restore the
Property or to pay amounts unpaid under the Note or this Security instrument, whether or not then due.

6. Occupancy. Borrower shall occupy, establish. and use the Property as Borrower's principal residence
within 60 days after the execution of this Security instrument and shall continue to occupy the Property as Borrower's
principal residence for at least one year after the date of occupancy, unless Lender otherwise agrees in writing, which
consent shall not be unreasonably withheld. or unless extenuating circumstances exist which are beyond Borrower's
t control.

7. Preservation, Maintenance and Protection of the Property; Inspections. Borrower shall not destroy.
damage or impair the Property, allow the Property to deteriorate or commit waste on the Property. Wbether or not
Borrower is residing in the Property, Borrower shall maintain the Property in order to prevent the Property from
deteriorating or decreasing in value due to its condition. Uniess it is determined pursuant to Section 5 that repair or
restoration is not economically feasible, Borrower shall promptly repair the Property if damaged to avoid further
deterioration or damage. if insurance or condemnation proceeds are paid in connection with damage to, or the taking
of, the Property, Borrower shall be responsible for repairing or restoring the Property only if Lender has released
proceeds for such purposes. Lender may disburse proceeds for the repairs and restoration in a single payment or in
a series of progress payments as tlte work is completed if the insurance or condemnation proceeds are not sufficient
to repair or restore the Property, Borrower is not relieved of Borrower's obligation for the completion of such repair
or restoration,

Lender or its agent may make reasonable entries upon and inspections of the Property. If it has reasonable cause,
Lender may inspect the interior of the improvements on the Property. Lender shall give Borrower notice at the time
of or prior to such an interior inspection specifying such reasonable cause.

B. Borrower's Loan Applicatlon. Borrower shall be in default if . during the Loan application process.
Borrower or any persons or entities acting at the direction of Borrower or with Borrower's knowledge or consent gave
materially false, misleading, or inaccurate information or statements to Lender (or failed to provide Lender with
material infonnation) in connection with the Loan. Material representations includel but are not limited to,
representations concerning Borrower's occupancy of the Property as Borrower's principal residence.

9. Protection of Lender's Interest in the Property and Rights Under this Security Instrument. If (a)
Borrower fails to perform the covenants and agreements contained in this Security lnstrument, (b) there is a legal
proceeding that might significantly affect Lender's interest in the Property and/or rights under this Security instrument
(such as a proceeding in bankruptcy. probate, for condemnation or forfeiture, for enforcement of a lien which may
attain priority over this Security Instrument or to enforce laws or regulations). or (c) Borrower has abandoned the
Property, then Lender may do and pay for whatever is reasonable or appropriate to protect Lender's interest in the
Property and rights under this Security lnstrument, including protecting and/or assessing the value of the Property.
and securing and/or repairing the Property. Lender‘s actions can include, but are not limited to: (a) paying any sums
secured by a lien which has priority over this Security lnstrument; (b) appearing in court; and (c) paying reasonable
attomeys' fees to protect its interest in the Property and/or rights under this Security Instrument, including its secured
position in a bankruptcy proceeding. Securing the Property includes, but is not limited to, entering the Property to
make repairs. change locks, replace or board up doors and windows, drain water from pipes, eliminate building or
other code violations or dangerous conditions, and have utilities turned on or off. Although Lender may take action

Borrower Initials: d §

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under this Section 9, Lender does not have to do so and is not under any duty or obligation to do so. it is agreed that
Lender incurs no liability for not taking any or all actions authorized under this Section 9.

Any amounts disbursed by Lender under this Section 9 shall become additional debt of Borrower secured by this
Security lnstrument. These amounts shall bear interest at the Note rate from the date of disbursement and shall be
payable. with such interestl upon notice from Lender to Borrower requesting payment.

if this Security instrument is on a leasehold, Borrower shall comply with all the provisions of the lease. if
Borrower acquires fee title to the Property, the leasehold and the fee title shall not merge unless Lender agrees to the
merger in writing.

10. Mortgage Insurance. if Lender required Mortgage insurance as a condition of making the Loan, Borrower
shall pay the premiums required to maintain the Mortgage insurance in effect. If, for any reason, the Mortgage
insurance coverage required by Lender ceases to be available from the mortgage insurer that previously provided such
insurance and Borrower was required to make separately designated payments toward the premiums for Mortgage
lnsurance. Borrower shall pay the premiums required to obtain coverage substantially equivalent to the Mortgage
insurance previously in effect, at a cost substantially equivalent to the cost to Borrower of the Mortgage insurance
previously in effect, from an alternate mortgage insurer selected by Lender, lf substantially equivalent Mortgage
insurance coverage is not available, Borrower_shall continue to pay to Lender the amount of the separately designated
payments that were due when the insurance coverage ceased to be in effect. Lender will accept, use and retain these
payments as a non-refundable loss reserve in lieu of Mortgage insurance. Such loss reserve shall be non-refundable.
notwithstanding the fact that the Loan is ultimately paid in full, and Lender shall not be required to pay Borrower any
interest or earnings on such loss reserve, Lender can no longer require loss reserve payments if Mortgage insurance
coverage (in the amount and for the period that Lender requires) provided by an insurer selected by Lender again
becomes availabie, is obtainedl and Lender requires separately designated payments toward the premiums for
Mortgage Insurance. if Lender required Mortgage Insurance as a condition of making the Loan and` Borrower was
required to make separately designated payments toward the premiums for Mortgage lnsurance, Borrower shall pay
the premiums required to maintain Mortgage Insurance in effect, or to provide a non-refundable loss reserve, until
Lender's requirement for Mortgage insurance ends in accordance with any written agreement between Borrower and
Lender providing for such termination or until termination is required by Applicable Law, Nothing in this Section
10 affects Borrower's obligation to pay interest at the rate provided in the Note‘

Mortgage Insurance reimburses Lender (or any entity that purchases the Note) for certain losses it may incur
if Borrower does not repay the Loan as agreed. Borrower is not a party to the Mortgage Insurance.

Mortgage insurers evaluate their total risk on all such insurance in force from time to time, and may enter into
agreements with other parties that share or modify their risk, or reduce losses. These agreements are on terms and
conditions that are satisfactory to the mortgage insurer and the other party (or parties) to these agreements. These
agreements may require the mortgage insurer to make payments using any source of funds that the mortgage insurer
may have available (which may include funds obtained from Mortgage Insurance premiums).

As a result of these agreements, Lender, any purchaser of the Note, another insurer, any reinsurer, any other
entity, or any affiliate of any of the foregoing, may receive (directly or indirectly) amounts that derive from (or might
be characterized as) a portion of Borrower's payments for Mortgage insurance. in exchange for sharing or modifying
the mortgage insurer`s risk, or reducing losses. lf such agreement provides that an affiliate of Lender takes a share
of the insurer`s risk in exchange for a share of the premiums paid to the lnsurer. the arrangement is often termed
"captive reinsurance." Further: `

(a) Any such agreements will not affect the amounts that Borrower has agreed to pay for Mortgage
Insurance, or any other terms of the Loan. Such agreements will riot increase the amount Borrower will owe
for Mortgage Insurance, and they will not entitle Borrower to any refund.

(b) Any such agreements will not affect the rights Borrower has - if any - with respect to the Mortgage
Insurance under the Homeowners Protection Act of 1998 or any other law. These rights may include the right
to receive certain disclosures, to request and obtain cancellation of the Mortgage insurance. to have the
Mortgage Insurance terminated automatically, and/or to receive a refund of any Mortgage Insurance premiums
that were unearned at the time of such cancellation or tennination.

11. Assignment of Miscellaneous Proceeds; Forfeiture. All Miscellaneous Proceeds are hereby assigned to
and shall be paid to Lender,

Borrower lnitials: §

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if the Property is damaged, such Miscellaneous Proceeds shall be applied to restoration or repair of the Property.
il` the restoration or repair is economically feasible and Lender's security is not lessened. During such repair and
restoration period, Lender shall have the right to hold such Miscellaneous Proceeds until Lender has had an
opportunity to inspect such Property to ensure the work has been completed to Lender's satisfaction, provided that
such inspection shall be undertaken promptly. Lender may pay for the repairs and restoration in a single disbursement
or in a series of progress payments as the work ls completed. Uniess an agreement is made in writing or Applicabie
Law requires interest to be paid on such Miscellaneous Proceeds, Lender shall not he required to pay Borrower any
interest or eamlngs on such Miscellaneous Proceeds. if the restoration or repair is not economically feasible or
' Lender‘s security would be |essened, the Miscellaneous Proceeds shall be applied to the sums secured by this Security
instrument, whether or not then due, with the excess, if any, paid to Borrower. Such Miscellaneous Proceeds shall
be applied in the order provided for in Section 2.
In the event of a total taking, destruction, or loss in value oi` the Property, the Miscellaneous Proceeds shall be
applied to the sums secured by this Security Instrument, whether or not then due, with the excess, if any, paid to
Borrower.
in the event of a partial taking, destruction, or loss in value of the Property in which the fair market value of
y the Property immediately before the partial taking, destruction, or loss in value is equal to or greater than the amount
l of the sums secured by this Security instrument immediately before the partial taking, destruction, or loss in value,
` unless Borrower and Lender otherwise agree in writing, the sums secured by this Security instrument shall be reduced
by the amount of the Miscellaneous Proceeds multiplied by the following fraction: (a) the total amount of the sums
secured immediately before the partial taking, destruction, or loss in value divided by (b) the fair market value of tlte
Property immediately before the partial taking, destruction, or loss in value. Any balance shall be paid to Borrower.
In the event of a partial taking, destruction, or loss in value of the Property in which the fair market value of
the Property immediately before the partial taking, destruction, or loss in value is less than the amount of the sums
secured immediately before the partial taking, destruction, or loss in value. unless Borrower and Lender otherwise
agree in writing, the Miscellaneous Proceeds shall be applied to the sums secured by this Security Instrument whether
or not the sums are then due.
lf the Property is abandoned by Borrower, or if, after notice by Lender to Borrower that the Opposing Party (as
defined in the next sentence) offers to make an award to settle a claim for damages, Borrower fails to respond to
Lender within 30 days after the date the notice is given. Lender is authorized to collect and apply the Miscellaneous
Proceeds either to restoration or repair of the Property or to the sums secured by this Security Instrument, whether
or not then due. "Opposing Party" means the third party that owes Borrower Miscellaneous Proceeds or the party
against whom Borrower has a right of action in regard to Miscellaneous Proceeds.
t Borrower shall be in default if any action or proceeding. whether civil or criminal, is begun that, in Lender's
l judgment, could result in forfeiture of the Property or other material impairment of Lender's interest in the Property
or rights under this Security Instrument. Borrower can cure such a default and, if acceleration has occurred, reinstate
as provided in Section 19. by causing the action or proceeding to be dismissed with a ruling that, in Lender's
judgment, precludes forfeiture of the Property or other material impairment of Lender's interest in the Property or
rights under this Security instrument The proceeds of any award or claim for damages that are attributable to the
impairment of Lender's interest in the Property are hereby assigned and shall be paid to Lender.
All Miscellaneous Proceeds that are not applied to restoration or repair of the Property shall be applied in the
order provided for in Section Z.
12. Borrower Not Released; Forbearance By Lender Not a Waiver. Extension of the time for payment or
modification of amortization `of the sums secured by this Security instrument granted by Lender to Borrower or any
Successor in lnterest of Borrower shall not operate to release the liability of Borrower or any Successors in interest
of Borrower. Lender shall not be required to commence proceedings against any Successor in interest of Borrower
or to refuse to extend time for payment or otherwise modify amortization of the sums secured by this Security
instrument by reason of any demand made by the original Borrower or any Successors in Interest of Borrower. Any
` forbearance by Lender in exercising any right or remedy including, without limitation, Lender‘s acceptance of
payments from third persons, entities or Successors in interest of Borrower or in amounts less than the amount then
due, shall not be a waiver of or preclude the exercise of any right or remedy.

Borrower inltiais: M@

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13. joint and Several Liability; Co-signers; Successors and Assigns Bound. Borrower covenants and agrees
that Borrower's obligations and liability shall be joint and several. However. any Borrower who co-signs this Security
instrument but does not execute the Note (a "co-signer"): (a) is co-signing this Security instnrment only to mortgage,
grant and convey the co-signer's interest in the Property under the terms of this Security instrument; (b) is not
personally obligated to pay the sums secured by this Security Instrument; and (c) agrees that Lender and any other
Borrower can agree to extend, modifyl forbear or make any accommodations with regard to the terms of this Security
instrument or the Note without the co-signer`s consent.

` Subject to the provisions of Section 18, any Successor in interest of Borrower who assumes Borrower's
` obligations under this Security instrument in writing, and is approved by Lender, shall obtain ali of Borrower's rights
‘ and benefits under this Security Instrument. Borrower shall not be released from Borrower's obligations and liability
` under this Security instrument unless Lender agrees to such release in writing. The covenants and agreements of this
y Security instrument shall bind (except as provided in Section 20) and benefit the successors and assigns of Lender.

14. Loan Charges. Lender may charge Borrower fees for services performed in connection with Borrower's
default, for the purpose of protecting Lender's-interest in the Property and rights under this Security instrument,
including, but not limited to, attomeys‘ fees, property inspection and valuation fees. in regard to any other fees, the
absence of express authority in this Security Instrument to charge a specific fee to Borrower shall not be construed
as a prohibition on the charging of such fee. Lender may not charge fees that are expressly prohibited by this Security
instrument or by Applicabie Law.

if the Loan is subject to a law which sets maximum loan charges, and that law is finally interpreted so that the
interest or other loan charges collected or to be collected in connection with the Loan exceed the permitted limits,
then: (a) any such loan charge shall be reduced by the amount necessary to reduce the charge to the permitted limlt;
and (b) any sums already collected from Borrower which exceeded permitted limits will be refunded to Borrower.
Lender may choose to make this refund by reducing the principal owed under the Note or by making a direct payment

y to Borrower. if a refund reduces principal. the reduction will be treated as a partial prepayment without any
; prepayment charge (whether or not a prepayment charge is provided for under the Note). Borrower's acceptance of
any such refund made by direct payment to Borrower will constitute a waiver of any right of action Borrower might
have arising out of such overcharge.

15. Notices. All notices given by Borrower or Lender in connection with this Security instrument must be in
writing. Any notice to Borrower in connection with this Security instrument shall be deemed to have been given to
Borrower when mailed by first class mail or when actually delivered to Borrower's notice address if sent by other
means. Notice to any one Borrower shall constitute notice to all Borrowers unless Applicabie Law expressly requires
otherwise. The notice address shall be the Property Address unless Borrower has designated a substitute notice
address by notice to Lender. Borrower shall promptly notify Lender of Borrower's change of address. if Lender
specifies a procedure for reporting Borrower's change of address, then Borrower shall only report a change of address
through that specified procedure. There may be only one designated notice address under this Security instrument
at any one time, Any notice to Lender shall be given by delivering it or by mailing it by first class mail to Lender's
address stated herein unless Lender has designated another address by notice to Borrower. Any notice in connection
with this Security Instrument shall not be deemed to have been given to Lender until actually received by Lender.
if any notice required by this Security instrument ls also required under Applicabie Law, the Applicabie Law
requirement will satisfy the corresponding requirement under this Security Instrument.

16. Governing Law; Severability; Rules of Construction. This Security instrument shall be governed by
federal law and the law of the jurisdiction in which the Property is iocated, All rights and obligations contained in
this Security instrument are subject to any requirements and limitations of Applicabie Law. Applicabie Law might
explicitly or implicitly allow the parties to agree by contract or lt might be silent, but such silence shall not be
construed as a prohibition against agreement by contract in the event that any provision or clause of this Security
l instrument or the Note conflicts with Applicabie Law. such conflict shall not affect other provisions of this Security

instrument or the Note which can be given effect without the conflicting provision.

As used in this Security instrument: (a) words of the masculine gender shall mean and include corresponding
neuter words or words of the feminine gender; (b) words in the singular shall mean and include the plural and vice
versa; and (c) the word "may" gives sole discretion without any obligation to take any action.

17. Borrower‘s Copy. Borrower shall be given one copy of the Note and of this Security instrument

Borrower Initials: /lfg

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18. Transfer of the Property or a Beneficial interest in Borrower. As used in this Section 18, "interest in
the Property" means any legal or beneficial interest in the Property, including, but not limited to, those beneficial
interests transferred in a bond for deed, contract for deed, installment sales contract or escrow agreement. the intent
of which is the transfer of title by Borrower at a future date to a purchaser.

if all or any part of the Property or any interest in the Property is sold or transferred (or if Borrower is not a
natural person and a beneficial interest in Borrower is sold or transferred) without Lender's prior written consent,
Lender may require immediate payment in full of all sums secured by this Security instrument. However. this option
shall not be exercised by Lender if such exercise is prohibited by Applicabie Law.

lf Lender exercises this option, Lender shall give Borrower notice of acceleration The notice shall provide a
period of not less than 30 days from the date the notice is given in accordance with Section 15 within which Borrower

` must pay all sums secured by this Security instrument if Borrower fails to pay these sums prior to the expiration of
‘ this period, Lender may invoke any remedies permitted by this Security instrument without further notice or demand
on Borrower.

19. Borrower's Right to Reinstate After Acceleration. if Borrower meets certain conditions, Borrower shall
have the right to have enforcement of this Security instrument discontinued at any time prior to the earliest of : (a)
five days before sale of the Property pursuant to Section 22 of this Security instrument, (b) such other period as
Applicabie Law might specify for the termination ofBorrower's right to relnstate: or (c) entry of ajudgment enforcing
this Security Instrument. Those conditions are that Borrower: (a) pays Lender all sums which then would be due "
under this Security Instrument and the Note as if no acceleration had occurred; (b) cures any default of any other
covenants or agreements; (c) pays all expenses incurred in enforcing this Security instrument, lncluding, but not
limited to, reasonable attomeys‘ fees. property inspection and valuation fees. and other fees incurred for the purpose
of protecting Lender's interest in the Property and rights under this Security instrument; and (d) takes such action as
Lender may reasonably require to assure that Lender's interest in the Property and rights under this Security
Instrument. and Borrower's obligation to pay the sums secured by this Security Instrument, shall continue unchanged.
Lender may require that Borrower pay such reinstatement sums and expenses in one or more of the following forms,
as selected by Lender: (a) cash', (b) money order; (c) certified check, bank checkl treasurer's check or cashier's check,
provided any such check is drawn upon an institution whose deposits are insured by a federal agency, instrumentality
or entity; or (d) Electronic Funds Transfer. Upon reinstatement by Borrower, this Security instrument and obligations
secured hereby shall remain fully effective as if no acceleration had occurred. However. this right to reinstate shall
not apply in the case of acceleration under Section 18,

Zi]. Sale of Note; _Change of Loan Servicer; Notice of Grlevance. The Note or a partial interest in the Note

g (together with this Security instrument) can be sold one or more times without prior notice to Borrowert A sale might
result in a change in the entity (known as the "Loan Servicer") that collects Periodic Payments due under the Note
and this Security Instrument and performs other mortgage loan servicing obligations under the Note, this Security
instrument, and Applicabie i_aw. There also might be one or more changes of the Loan Servicer unrelated to a sale
of the Note. if there is a change of the Loan Servicer, Borrower will be given written notice of the change which will
state the name and address of the new Loan Servicer, the address to which payments should be made and any other
information RESPA requires in connection with a notice of transfer of servicing. if the Note is sold and thereafter
the Loan ls serviced by a Loan Servicer other than the purchaser of the Note. the mortgage loan servicing obligations
to Borrower will remain with the Loan Servicer or be transferred to a successor Loan Servicer and are not assumed
by the Note purchaser unless otherwise provided by the Note purchaser.

Neither Borrower nor Lender may commence, join, or be joined to any judicial action (as either an individual

l litigant or the member of a class) that arises from the other party's actions pursuant to this Security instrument or that
alleges that the other party has breached any provision of, or any duty owed by reason of, this Security instrument.
until such Borrower or Lender has notified the other party (with such notice given in compliance with the requirements
of Section 15) of such alleged breach and afforded the other party hereto a reasonable period after the giving of such
notice to take corrective action. If` Applicabie Law provides a time period which must elapse before certain action
can be taken, that time period will be deemed to be reasonable for purposes of this paragraph. The notice of
acceleration and opportunity to cure given to Borrower pursuant to Section 22 and the notice of acceleration given
to Borrower pursuant to Section 18 shall be deemed to satisfy the notice and opportunity to take corrective action ~
provisions of this Section 20.

Borrower Initials: 3

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21. Hazardous Substances, As used in this Section 211 (a) "iiaz.ardous Substances" are those substances
defined as toxic or hazardous substances, pollutants, or wastes by Enviromnenlal Law and the following substances:
gasoline, kerosene. other flammable or toxic petroleum products, toxic pesticides and herbicides, volatile soivents,
materials containing asbestos or formaldehyde, and radioactive materials; (b) "Envlronmentai Law" means federal
laws and laws of the jurisdiction where the Property is located that relate to health, safety or environmental protection;
(c) "Environmental Cleanup" includes any response action, remedial action. or removal action. as defined in
Environmental Law; and (d) an "Environmenta] Condition" means a condition that can cause. contribute to, or
otherwise trigger an Environmental Cleanup.

Borrower shall not cause or permit the presence, use, disposal. storage, or release of any Hazardous Substances,
or threaten to release any Hazardous Substances, on or in the Property. Borrower shall not do, nor allow anyone else
to do, anything affecting the Property (a) that is in violation of any Environmental Law. (b) which creates an
Environmental Condition, or (c) which, due to the presence, use. or release of a Hazardous Substance, creates a
condition that adversely affects the value of the Property. The preceding two sentences shall not apply to the
presence, use. or storage on the Property of small quantities of Hazardous Substances that are generally recognized
to be appropriate to normal residential uses and to maintenance of the Property (includlng, but not limited to,
hazardous substances in consumer products).

Borrower shall promptly give Lender written notice of (a) any investigation, claim, demand, lawsuit or other
action by any governmental or regulatory agency or private party involving the Property and any Hazardous Substance
or Environmental Law of which Borrower has actual knowledge, (b) any Environmental Condition, including but not
limited to, any spilling, leaking, discharge, release or threat of release of any Hazardous Substance, and (c) any
condition caused by the presence, use or release of a Hazardous Substance which adversely affects the value of the
Property. if Borrower learns. or is notified by any governmental or regulatory authority. or any private party, that
any removal or other remediation of any Hazardous Substance affecting the Property is necessary, Borrower shall
promptly take all necessary remedial actions in accordance with Environmental Law. Nothing herein shall create any
obligation on Lender for an Environmental Cleanup.

NON-UN|FORM COVENANTS. Borrower and Lender further covenant and agree as follows:

ZZ, Acceieration; Remedies. Lender shall give notice to Borrower prior to acceleration following
Borrower's breach of any covenant or agreement in this Security Instrument ('but not prior to acceleration under
Section 18 unless Applicabie Law provides ntherwise). The notice shall specify: (a) the default; (b) the action
required to cure the defauit; (c) a date, not less than 30 days from the date the notice is given to Borrower, by
which the default must be cured; and (d) that failure to cure the default on or before the date specified in the
notice may result in acceleration of the sums secured by this Security Instrument, foreclosure by judicial
proceeding and sale of the Property. The notice shall further inform Borrower of the right to reinstate after
acceleration and the right to assert in the foreclosure proceeding the non-existence of a default or any other
defense of Borrower to acceleration and foreclosure. Ii` the default is not cured on or before the date specified
l in the notice, Lender at its option may require immediate payment in full of all sums secured by this Security
Instrument without further demand and may foreclose this Security instrument by judicial proceeding. Lender
shall be entitled to collect all expenses incurred in pursuing the remedies provided in this Section 22, inciuding,
but not limited to, reasonable attomeys' fees and costs of title evidence.

23. Release. Upon payment of all sums secured by this Security instrument. Lender shall release this Security
instrument. Lender may charge Borrower a fee for releasing this Security Instrument, but only if the fee is paid to
a third party for services rendered and the charging of the fee is permitted under Applicabie Law.

24. Walver of Valuation and Apprajsement. Borrower waives all right of valuation and appraisement

Borrower inltials: ®*

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BY SICNlNG BELOW, Borrower accepts and agrees to the terms and covenants contained in this Security
Instrument and in any Rider executed by Borrower and recorded with it.

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DAWNYL§'(LPRE{\J -Borrower -Borrower

 

 

 

 

 

 

 

(Seal) (Seal)

-Borrower »Borrower
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(Seal) (Seal)

-Borrower ~Borrower

Witness: Witness:
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[Space Below This Line For Acknow|edgment]

State of indiana
SS:
County of M.A.RION

Before me the undersigned, a Notary Public for County, State of indiana,
personally appeared DAWNYL FREW

the execution of this instrument this `276{/1 day of d,u®f}:§l' w

and acknowledged

    

 

 

otary Signature
VESTER DAWN MERED|TH
R .
C:; 131 golden County Printedfl`yped Name Notary Pub|ic
(Seal)
My commission expires:
This instrument was prepared by: County of residence:

jl'fo§>l'.)@ .

 

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APPENDIX “A”

Lot Numbered One Hundred Ninc (109) in Bridgeport Commons, Section 2 as per plat
thereof recorded November 22, 1999 as instrument No. 99223 882 in the Ofiice of the
Recorder of Marion County, Indiana.

 

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WHEN RECORDED, MA|L TO:
HOMELAND CAP|TAL MORTGAGE
600 E CARMEL DR!VE, STE 110

CARMEL |N 46032 -

This Instrument Prepared By'.
Une, Ks_netlei
U r{\<>f\ €%\1 fly CMFwa'l‘“-"\
Order Number:
Esc'row Nurnber:

Application Nurnber:
Loan Number:`

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Corporation Assignment of Mortgage
FOR VALUE RECEIVED. UNION EQUITY CORPORATION

 

["Assignor").
having its principal place of business at 9100 KEYSTONE CROSSING , SUITE 46 0 ,
IND IANAPOLIS , INDIANA 4 624 0
hereby grants, assigns and transfers to
h/o'm §mn/o mmc Tc”-H&J & ("Assignee")

ali of Assignor's rights, title and interest in, to, and under that certain Mortgage dated AUGUST 2 , 2 O 05
executed and delivered by DAWNYL FREW

, Mortgagor,
and recorded either .
maria

l:l concurrently herewith: orc',)$>¥s$`
gas Instrument NUWMA\\ &\‘,_S)\` l"l., Lda‘dg in book , page t
of Ol`ficial Records in e ounty ecnrder‘s office of` MAR`[ON Counly.

covering certain real estate and other property described therein, more particularly described as follows:

- .. .` u»' -

       
         

 

.|a._ a 'l- s ._

 

LOT NUMBERED ONE HUNDE'RED NINE {'l09) IN BRIDGEPORT COMMONS, SEC'I'ION
2 AS PER PLAT THEREO`E' RECO'RDED NOVEMBEIR 22, 1999 AS INSTRUMENT

NO. 99223882 IN THE OFFICE OF' THE RECORDER OF MARION COUN'I'Y,
INDIANA.

TOGETI-IER with the note or notes therein described or referred to therein and secured thereby. the money due and to become
due thereon with interest, and ali rights accrued or to accrue under said Mortgage

 

 

 

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lN WiTNESS WHEREOF, Asstgnor has caused this
Corporation Assignrnent of Mortgage to be executed by its
duly authorized officer as ol` the day and year first written

below UNION EQUITY CORPORATION, AN
INDIANA CORPORATION

STATE OE‘ INDIANA

 

 

COUNTYOF MARION 35

On )q'L./o’-UF T‘ 52 j,£?c?$" before me,

B'A,ue.' /-?g»u¢>c¢.e"r tommy Pubttc, M ] 'El:
personally appeared mr |<E BEH_UBQ¢; M }KE (/B E'MP£E"

personally known to me (or proved to me on the basis of
satisfactory evidence) to he the person (s) whose name (s) isfare
subscribed to the within instrument and acknowledged to me
that he/she/ they executed the same in his/her/their authorized
capacity(ies], and that by his/herftheir signature(s] on the
instrument the persnn[s], or the entity upon behalf of which
the person(s), acted, executed the instrument.

 

WITNESS my hand and official seai.
Signalure§%?/rw w

314/§ 195/wa cyr
Name ['i"yped or Printed)
Notary Public ln for said State

(Seal)

JANE FtEt~toLLE‘r
tamm county

My Commiuion Expires
"‘“*'"“"_» m

 

('I`his area for official notaria| seal]
I AF'FIRM, UNDER THE PENALTIES FOR PERJURY, THAT I HAVE TAKEN

REASONABLE CARE TO REDACT EACH SOC AL SECU Y UM'B`E!R IN THIS
DOCUMENT, UNLESS REQUIRED BY LAW. "
T`RICIA J CO

|NDIANA CORPORAT|ON ASS|GNMENT OF MORTGAGE mbm martinez
01.'011‘97 Page 2 of 2 www.docmagic.com

 

 

 

 

 

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Q)J$~

ASSIGNMENT ()F MORTGAGE

 

ssiD-_>sam»d~s is W“i “\~"i@“r'l“$it;s'i
on\

MERS Phonc: 1-388-679-6377

FOR VALUE RECEIVED, Homeiand Mortgage Company, its successors and assigns, hereby assigns and
transfers to Mortgage Electronic Registration Systems, Inc., its successors and assigns P.O. Box 2026, Fiint,
Michigan 48501-2026, all its right, title and interest in and to a certain mortgage executed by Dawnyi Frew to
Homeland Mortgage Company and bearing the date of the Zttd day of August, 2005 and recorded on the

 

L\'l* \\ day of f\ o so 3“\‘ ,lbt>'$in the office of the Recorder of N§M 153 County, State
of milo 9 g in Book `J at Pages or Instrument

a`s>bS'lS 82"1."1

Signed on the md day ofAugust, 2005.
¢.__-'-'~_““““_“'_"_---,

d Mortgage Company

    

J. Scott Anspach
Director of Lending

State of Indiana
County of Hamiiton ss:

On the 22“d day of August 2005, before me, a Notary Pubiic, Personaiiy appeared J. Scott Anspach, to me known,
who being duly sworn, did say that he or she is the Director of Lending o Homeiand Mortgage Company, and that

said instrument was signed on behalf of said corporati;)lMC/K
" C<?<

Notary Public _ Trici,i J Co)l \
Commission Expires: June 29, 2011

 
 
 
 

 
 

TR|C|A J. COX
Hami|ton County

My Commission Expires

June 29, 2011

Address of Preparer:

Homeland Mortgage Company
600 East Carmei Drive, Suite l 10
Carmel, IN 46032 `“"`“"""*"‘"""'“""‘°“""“"
ATTN: Final Docurnents Dept.

I AFFIRM, UNDER THE PENALTIES ron PERJURY, THAT I HAVE TAKEN
REASONABLE cane To REDACT EACH soc AL sEcU TY NUMBER IN THIS
DOCUMENT, UNLESS REQUIRED BY LAw.\ZLwcz;;n§§an`

TRICIA JjCOX `

    
  

 
   

09/05/06 E]E:SBAM HANBA HARIIN HARIDN EW RE€UR{|ER KllB iE.tJU F'AEES: i.

In§t # EDDE» 013314~£.

 

 

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06/03/2013 07:02 AM
JULIE L. VOORHIES
MARION COUNTY IN RECORDER
` FEE: $ 17.50
1 PAGES: 2
By: ER

Return To:

CT LlEN SOLUT|ONS

PO BOX 29071

GLENDALE, CA 91209-9071
Phone #: 800-331-3282

 

ASS|GNME__NT OF MORTGAGE
MERs srs # saa-ere-esrr \vnN _

For value previously received Mortgage Electronic Registration Systems, |nr:. its successors and assigns, at 1901 E.
Voorhees St. Danvil|e, lL 61834, P.O. Box 2026, F|int, Ml, 48501-2026, hereby assigns to Citi|\/|ortgege, |nc_ at 1000
Technology Drive, O'Fa||on, MO, 63368 the mortgage executed by Dawny| Frew to Origina| Beneficiary: Union Equity
Corporation on 08/02/2005 which said mortgage was recorded in the Recorder's Office in |V|arion County, |ndiana
Original|y Recorded On: 08/24/2005 recorded as instrument No: 2005-0138844.

Dated: ' g"’

Mortage Electronic Regi tration Systems, |nc. its successors and assigns

 

STATE OF MlSSOUR|, ST. CHARLES COUNTY

On 513 3'/3 before me, the undersigned, a notary public in and for said state, personally
appeared Sandra West. Assistant Secretary of Mortgage Electronic Registration Systems, Inc. its successors and
assigns personally known to me or proved to me on the basis of satisfactory evidence to be the individual whose name is
subscribed to the within instrument and acknowledged to me that helshe executed the same in his/her capacity, and that
by his/her signature on the instrument, the individuall or the person upon behalf of which the individuat acted, executed

the instrument.
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NonWoi;:“-Msm unusual V
Note Pub|'c$ b'l Short
commissioneurmst ry ' y '

M sslon lnis.|iltil'¢zilii._,zj 15 Commission Ex ires:03/19/2016
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08/29/2013 11:47 AM
Jut.re L. voomlres

/ MARION COUNTY IN RECORDER
@ FEE: $ 14.50
‘V® PAGES: 1
§ By: en
00
40

PREPARED BY & RETU'RA,>TO.
M. E. Wilcrnan ®
2860 Exchange Blvd. # 100 066
Southlakc, TX 76092 6 ASSigl'lmEltt 01 Mortgage Scnd Any Notices To Assignce

For Valuablc Consideration. the undersigned C|TIMORTGAGE, lNC. 4050 REGENT BLVD, MS NZA-ZZZ. IRVING, TX 75063
(Asslgner] by these presents does essig'ijla_nd set over, without recoursc, to U.S. BANK NATIONAL ASSOCIATION, AS TRUSTEE FOR
PROF-Zl]ll-Sl llOLDING TRUST l 60.l.lvingstnn Avenue, EP-MN-WS30, St. Paul, MN 551|]7 (Assigoce) the described mortgage with
all interest, all licns, any rights due or to tiedch due thereon. executed by DAWNYL FREW to UNION EQL|ITY COR.PORAT|ON. Said
mortgage Dated: 8!2/2005 is recorded in the S°t,y`ate of IN, County of Mar|on on 8!24/21]05, Instrument # 2005-0138844 AMOUNT: S
1211.500.00 Property Address: 9OOB LlGl'ITil$JB`SE DR, lNDlANAI'OL]S, lN 4623|

|N Wl'l`NESS WHER.EOF, the undersigned corporation has caused this instrument to be executed as a sealed instrument by its proper ofiicer.
Executed on: August 29, 2013

 

C[TIMORTGAGE, lNC. 'g/
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,_\¢-¢-‘-,'¢_-',.t
Michael E Wileman, Authorized Signator ‘§-
"’E¢
A\
State nfTexas County nl`Tarrant OA

On 08/29/20|3, before me, the undersignedl Michael E. Wileman, who acknowledged that he/she is Authorized Signator oli'for for
Cl'l`lMOR'l`GAGI-., IN(.‘. , and that he/she executed the foregoing instrument agd that such execution was done as the free acl and deed of
Cl'l'lMORTGAGE, [NC. . <€\

C. °5>. ”"’
r-
Notary public, G?Ebeai’f'erty
My commission cxpj_'r_t_:s Novcmbcr 30, 2014

  

 

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laH'lrm, unch the penalties for perjury, that 1 have taken reasonable care to redact each `%\

Socin| Security number m this documcnl, unless required by law. §§

M E. Wilcmen IN Marien _

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Southlake, TI Ti§tlt‘JE Asi'.i_go.menl ol']i-'Iut'tgilge Bend Any Notices To Ass.ignoe.

For "i."aluable Conridi:ration. the u.ni.ti:rei|gnrdl U.S. II.-'lth`l{ N_-\T[D_"'ti.-\L ASSDC`[.-\T[D]"i', .\'LS TR`L|ST`EF FI'JR PR'|Z]F-Ilil I-S]

l]'lJLD[NG THUST l Atl'o: Strni:t'i:d Fiolni:e Servicer, 1511 ]_'n'i.ngslio‘n iin'emli:, EP-MPi-WSJD_. St. Paul, Ml*i 5511]‘1

[A!i\i_gnor] by these presents dod assign and set oui‘.'r_ 1.tritt'iout ri_'t_'ot.irsi.r1 'to MF]UL TR'[.-'ST 1014-l 350 Pilrk Aoituut', 1'|]|11 Ftoor,

-"ti'-."ie 'l'orlt. 1""1"|‘l ll]t]ll [Miig,tlt*t*] the described mortgage i»io'1]'i iitt interest, all lit-ns1 ii.ny rights due or 'to become due theroori.

executed by DAWNYL Fl-`~'..E.W lo LTl*-'ION EOU]T':" CURI'DRJ'N.TIUl‘i-'. Said mortgage Dllud: 3!2.'11]1]5 is recorded in llit: State

of [§1.. l';‘ou.ilt}l ol`Murion ul BJ'HJ'IMS.. ]i\$tr'uili.crll 11 11105-111311544 .-'i..'\'ll'.'_`l't.|?i'l`t j ll'|].,§l]l].'|]l] Prul|:-ertg.r r‘iddrus: 90011.

L[(illTll{}lRFiE DR. ]l‘\-'UIAN.»*.PU]_JS, [N doi-131

TN ‘i\-']TNESS \\-']IEREDF, t|ii: undersigned corporation has caused this instrument to be executed as a sealed instrument by its
ot't'ii:or. ]:'x»:i:l.iti:d m: Ja‘nuiir_',' l‘r|'l 21]]5

'tlf‘i_ B."ii~l]{ l\'.R'I`lt'il‘.‘ii*tL ht"i!'i't]ltf[.»'iT]t]H_ r'tf“i TRtJSTl'il'i ]"UR PR'{]F-E{|l?_-Sl ]lt}]_.t}li“vlli TRUST |

Hy: M _
y

Mii:har:l E. Wilcmani r'i.uthorized S-tgnator

 

State ofTexas County o1` Tiurunt

tin til =']'i|'.-'Zl§l| 5. before me, the undersigned Micha-:I l~`,. Wilcnian. who acknowledged that |ic-'xhe is .-*.uthorirstl Siguator ol]‘loi

For tl.$ tierle NAT[UHA|_ ASS»O['[.-\T|DN, 1515 TRUST]'-_E ]'T.lt-t FR{JF-E|J]Z-S] ltUI.Dtt-C{i THL|ST ]' , and that ho"sho executed
lhr foregoing instrument and lhnt such execution was done as the Fi'ee act i111d deed rit`|_1.5. H.Hr[*~`K Ni"t`[`lt.]t's`f'iL r'tt§."it]'L`lA`t'[t`.|lN,

1115 TRL'HTHE Ft.`r[t PRt)F-EtitE-Sl ]itJLD]Nti TRt,`!'iT l _

Naiar:rpubttr. C. Laif¢rr;~'

Myoiurirnission cxpircii: l\.'i:rvi_'mbor 3£1. 21]]11

 

Ta|`i`irm. under the pcti.atrii'_-< titr ]ir_“tjury. that 1 hare taken reasonable care to rodar_'r each

Sui_'ta| Security number m this doi;iuneril.. untiss required b].r law.
1~'1. E. 1l'r'ilr.':rnzin 1]*~' Mation

386 17-08218-.]|\/|€-7A DC. Filed 01/19/18 EOD ~9/18 13:53:28 Pg 23 Of 34

NOTE Loan Number: -
AUGUST 2 , 2005 INDIANAPOLIS INDIANA
[Date] lCtty] [Scate]

9008 LIGHTHORSE DR . , INDIANAPOLIS , INDIANA 46 23 1
[Propeny Addressl

1. BORROWER'S PROM|SE TO PAY

In return for a loan that I have received, I promise to pay U.S. $ 12 0 , 50 0 . 00 (this amount is
called "Principal"), plus interest, to the order of the Lender. The Lender is UNION EQUITY
CORPORATION, AN INDIANA CORPORATION
l will make all payments under this Note in the form of cash, check or money order.

I understand that the Lender may transfer this Note. The Lender or anyone who takes this Note by transfer and
who is entitled to receive payments under this Note is called the "Note Holder."

2. lNTEREST
Interest will be charged on unpaid principal until the full amount of Principal has been paid. I will pay interest
at a yearly rate of 6 . 900 %.

The interest rate required by this Section 2 is the rate I will pay both before and after any default described in
Section B(B) of this Note.

3. PAVMENTS

(A) T|me and Place of Payments

I wili pay principal and interest by making a payment every month,

l will make my monthly payment on the lst day of each month beginning on OCTOBER 1 .
2 0 0 5 . l will make these payments every month until I have paid ali of the principal and interest and any other
charges described below that l may owe under this Note. Each monthly payment will be applied as of its scheduled
due date and will be applied to interest before Principal. If, on SEP‘I‘EMBER 1 , 2 03 5 , l still owe
amounts under this Note, I will pay those amounts in full on that date, which is called the "Maturity Date."

l will make my monthly payments at 9100 KE¥STONE CROSSING, SUITE 46 0 ,

INDIANAPOLIS , INDIANA 46240

or at a different place if required by the Note Holder.
(B) Amnunt of Monthly Payments
My monthly payment will be in the amount of U.S. $ 7 93 . 61

4. BORROWER'S R|GHT TO PREPAV ** See attached Prepayment: Note Addendun.

l have the right to make payments of Principal at any time before they are due. A payment of Principal only
is known as a "Prepayment. " When l make a Prepayment, l will tell the Note Holder in writing that l am doing so.
l may not designate a payment as a Prepayment if l have not made all the monthly payments due under the Note.

l may make a full Prepayment or partial Prepayments without paying a Prepayment charge. The Note Holder
will use my Prepayments to reduce the amount of Principal that I owe under this Note. Howeverl the Note Holder
may apply my Prepayment to the accrued and unpaid interest on the Prepayment amount, before applying my
Prepayment to reduce the Principal amount of the Note. If l make a partial Prepayment, there will be no changes in
the due date or in the amount of my monthly payment unless the Note Holder agrees in writing to those Changes.

5. LOAN CHARGES

If a law. which applies to this loan and which sets maximum loan charges. is finally interpreted so that the
interest or other loan charges collected or to be collected in connection with this loan exceed the permitted limits,
then: (a) any such log charge shall be reduced by the amount necessary to reduce the charge to the permitted limlt;

Borrower lnitiais:

 

 

MULT|STATE F|XED RATE NOTE-~Sing|e Famil Dod|lag|cehnmm 900549‘1:52
Fannie MaelFreddie Mac UN|FORM |N TRUM T www.docmagi'c.com
Form 3200 1/01 Page 1 of 3

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and (b) any sums already collected from me which exceeded permitted limits will be refunded to me. The Note
Holder may choose to make this refund by reducing the Principal l owe under this Note or by making a direct payment
to me. If a refund reduces Principai, the reduction will be treated as a partial Prepayment.

6. BORROWER'S FA|LURE TO PAY AS REQU|RED
(A) Late Charge for Overdue Payments
ll` the Note Holder has not received the full amount of any monthly payment by the end of l 5
calendar days after the date it is due, I will pay a late charge to the Note Holder. The amount of the charge will be
5 . 0 0 0 % of my overdue payment of principal and interest. l will pay this late charge promptly but only
1 once on each late payment.
j (B) Default
1 Il` l do not pay the full amount of each monthly payment on the date it is due, l will be in default.
(C) Notice of Default
Il` l am in default, the Note Holder may send me a written notice telling me that if l do not pay the overdue
amount by a certain date, the Note Holder may require me to pay immediately the full amount of Principal which has
not been paid and all the interest that l owe on that amount. That date must be at least 30 days after the date on which
the notice is mailed to me or delivered by other means.
i (D) No Waiver By Note Holder
j Even if, at a time when I am in default, the Note Holder does not require me to pay immediately in full as
‘ described above. the Note Holder will still have the right to do so if l am in default at a later time.
(E) Payment of Note Holder's Costs and Expenses
if the Note Holder has required me to pay immediately in full as described above, the Note Holder will have
the right to be paid back by me for all of its costs and expenses in enforcing this Note to the extent not prohibited by
applicable law. Those expenses include, for example, reasonable attorneys' fees.

7. GlVlNG OF NOTICES

Uniess applicable law requires a different method, any notice that must be given to me under this Note will be
given by delivering it or by mailing it by first class mail to me at the Property Address above or at a different address
if l give the Note Holder a notice of my different address.

Any notice that must be given to the Note Holder under this Note will be given by delivering it or by mailing
it by first class mall to the Note Holder at the address stated in Section 3(A) above or at a different address if l am
given a notice of that different address. 7

l 8. OBL|GAT|ONS OF PERSONS UNDER TH|S NOTE

lf` more than one person signs this Note, each person is fully and personally obligated to keep all of the promises
made in this Note, including the promise to pay the full amount owed. Any person who is a guarantor, surety or
endorser ol` this Note is also obligated to do these things. Any person who takes over these obligations, including
the obligations of a guarantor, surety or endorser of this Note. is also obligated to keep all of the promises made in
this Note. The Note Holder may enforce its rights under this Note against each person individually or against all ol`
y us together. This means that any one of us may be required to pay all of the amounts owed under this Note.

9. WAlVERS
I and any other person who has obligations under this Note waive the rights of Presentment and Notice of
Dishonor. "Presentment" means the right to require the Note Holder to demand payment of amounts due. "Notice
of Dishonor" means the right to require the Note Holder to give notice to other persons that amounts due have not
1 been pald.

10. UN|FORM SECURED NOTE

This Note is a uniform instrument with limited variations in some jurisdictions ln addition to the protections
given to the Note Holder under this Note, a Mortgage, Deed of Trust, or Security Deed (the "Security Instrument"),
dated the same daly Note. protects the Note Holder from possible losses which might result if l do not keep

Borrower lnitia.ls:

 

 

MULT|STATE F|XED RATE NOTE--Sin le Famii Doclllagk:e}nmn museum
Fannie MaelFreddie Mac UN|FORM iN TRUME T www.docmagi¢:.cam
Form 3200 1/01 Page 2 of 3

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386 17-08218-.]|\/|€-7A DC’ Filed 01/19/18 EOD ~9/18 13:53:28 Pg 25 Of 34

i

the promises which I make in this Note. That Security instrument describes how and under what conditions l may
be required to make immediate payment in full of all amounts l owe under this Note, Some of those conditions are
described as follows:

ll` all or any part of the Property or any lnterest in the Property is sold or transferred (or if Borrower
is not a natural person and a beneficial interest in Borrower is sold or transferred) without Lender's prior
written consent, Lender may require immediate payment in full of all sums secured by this Security
Instrument However this option shall not be exercised by Lender if such exercise is prohibited by
Applicabie Law.

If Lender exercises this option, Lender shall give Borrower notice of acceleration. The notice shall
provide a period of not less than 30 days from the date the notice is given in accordance with Section 15
within which Borrower must pay all sums secured by this Security Instrument. lf Borrower falls to pay
these sums prior to the expiration of this period, Lender may invoke any remedies permitted by this
Security Instrument without further notice or demand on Borrower.

Wl'I`NESS THE HAND(S) AND SEAL(S) OF THE UNDERSIGNED,

id Qg/(AM<@/ (sean tseal)

 

 

 

 

 

 

DAWNYL FR W -Borrower -Borrower
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(Seal) (Seal)
-Borrower -Borrower
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Form 3200 1I01 Page 3 of 3

386 17-08218-.]|\/|€-7A DC. Fi|6d 01/19/18 EOD `9/18 13253:28 PQ 26 Of 34

ALLONGE

LoAN #: -

i
t Borrower(s): DAWNYL FREW
l

l

i

i PropertyAddress: 9008 LIGHTHORSE DR., INDIANAPOLIS, INDIANA 46231
l

Principal Balance: $ 12 0 , 5 0 O . 0 0

Loan Date: AUGUST 2 , 2 005
PAY TO THE ORDER OF

MomgM/r/A ,/>7/)/?7'5~/4&5
Without Recourse
SUB_|ECT TO THE REPRESENTATIONS AND WARRANTIES CONTAINED lN THE CONTINUOUS BUY-SELL

AGREEMENTBETWEEN UNION EQUITY CORPORATION, AN INDIANA CORPORATION
AND

i Compa,,y Name;UNION EQUITY coRPoRATION, AN INDIANA CORPORATION

By; fm w {LLJ<L¢~»

(Name) (Tlll€)

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ALLONGE TO AGREEMENT

LOAN NUMBER: -

PROPERTY ADDRESS: 9008 LIGHTHORSE DRIVE
INDIANAPOLISr IN 46231

NOTE AMOUNT: $120500.00
ALLONGE TO AGREEMENT DATED: 08/22/05
IN FAVOR OF: HOMELAND MORTGAGE COMPANY

AS EXECUTED BY: DAWNYL FREW

PAY TO THE ORDER OF:

WITHOUT RECOURSE

Ai»»v

Z‘scor"r ANsPAct-¢
DIRECTOR oF LENDING

t

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AUG 9 3 2015
investor Loan #_ F§`y Servicjng» LLC

After Recording Return To:
Fay Servicing, LLC

440 S. LaSalle St., Ste. 2000
Chicago, IL 60605

(800) 495-7166

This document was prepared by: Fay Servicing, LLC

[Space Above This Line For Recording Data]

HOME AFFORDABLE MODIFICATION AGREEMENT

Borrower (“I”):1 DAWNYL FREW

Lender (“Lender”): Wilmington Trust, National Association, not in its individual capacity, but solely as trustee for
WRA Trust 2014-2

Date of first lien mortgage deed of trust, or security deed (“Mortgage”) and Note (“Note”): August 02, 2005
Servicer Loan Number:

Property Address (“Property”): 9008 LIGHTHORSE DR. INDIANAPOLIS. INDIANA 46231

If my representations and covenants in Section l continue to be true in all material respects, then this Home
Affordable Modification Agreement (“Agreement”) wiil, as set forth in Section 3, amend and Suppiement (i) the
Mortgage on the Property, and (2) the Note secured by the Mortgage. The Mortgage and Note together, as they may
previously have been amended, are referred to as the “Loan Documents.” Capitalized terms used in this Agreement
and not defined have the meaning given to them in Loan Documents.

l understand that after I sign and return two copies of this Agreement to the Lender, the Lender will send me a
signed copy of this Agreement This Agreement will not take effect unless the preconditions set forth in Section 2
have been satisfied

1. My Representations and Covenants. I certify, represent to Lender, covenant and agree:
A. I am experiencing a financial hardship, and as a result, (i) I am in default under the Loan

Documents or my default is imminent, and (ii) l do not have sufficient income or access to
sufficient liquid assets to make the monthly mortgage payments now or in the near future;

B. One of the borrowers signing this Agreement lives in the Property as a principal residence, and the
Property has not been condemned;
C. There has been no impermissible change in the ownership of the Property since I signed the Loan

Documents. A permissible change would be any transfer that the lender is required by law to
allow, such as a transfer to add or remove a family member, spouse or domestic partner of the
undersigned in the event of a death, divorce or marriagc;

D. I have provided documentation for all income that I receive (and l understand that I am not
required to disclose child support or alimony unless I chose to rely on such income when
requesting to qualify for the Home Affordable Modification Program (“Program”));

E. Under penalty of perj ury, all documents and information l have provided to Lender in connection

with this Agreement, including the documents and information regarding my eligibility for the

Program, are true and correct;

if Lender requires me to obtain credit counseling in connection With the Program, I will do so; and

i have made or will make all payments required under a trial period plan.

era

 

l lf more than one Borrower or Mortgagor is executing this document, each is referred to as “i." For purposes of this document
words signifying the singular (such as “i”) shall include the plural (such as “we") and vice versa where appropriate

MULT|STATE HOME AFFORDABLE MOD|F|CAT|ON AGREEMENT - Singie Famiiy - Fannie Mae/Freddie Mac UN|FORM
lNSTRUMENT Form 3157 3109 (rev. 10110) (page 1 of 7pages)

Fay Servicing Loan No.:-

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2. Acknowledgements and Preconditions to Moditication. l understand and acknowledge that:

A. If prior to the Modification Effective Date as set forth in Section 3 the Lender determines that any of
my representations in Section 1 are no longer true and correct or any covenant in Section l has not
been performed, the Loan Documents will not be modified and this Agreement will terminate In that
event, the Lender will have all of the rights and remedies provided by the Loan Documents; and

B. I understand that the Loan Documents will not be modified unless and until (i) the Lender accepts this
Agreement by signing and returning a copy of it to me, and (ii) the Modification Effective Date (as
defined in Section 3) has occurred. I further understand and agree that the Lender will not be
obligated or bound to make any modification of the Loan Documents if I fail to meet any one of the
requirements under this Agreement.

3. The Moditication. If my representations and covenants in Section l continue to be true in all material
respects and all preconditions to the modification set forth in Section 2 have been met, the Loan Documents
will automatically become modified on August 01, 2016 (the “Modification Effective Date”) and all unpaid
late charges that remain unpaid will be waived. I understand that if l have failed to make any payments as
a precondition to this modification under a trial period plan, this modification will not take effect. The first
modified payment will be due on August 01, 2016.

A. The Maturity Date will be: Januag 01, 2036.

B. The modified principal balance of my Note will include all amounts and arrearages that will be past
due as of the Modification Effective Date (including unpaid and deferred interest, fees, escrow
advances and other costs, but excluding unpaid late charges, collectively, “Unpaid Amounts”) less any
amounts paid to the Lender but not previously credited to my Loan. The new principal balance of my
Note will be $122 690.29 (the “New Principal Balance”). The amount of the New Principal Balance
that will be amortized is $122 690.29 (the “Amortized Amount”). l understand that by agreeing to add
the Unpaid Amounts to the outstanding principal balance, the added Unpaid Amounts accrue interest
based on the interest rate in effect under this Agreement. l also understand that this means interest will
now accrue on the unpaid lnterest that is added to the outstanding principal balance, which would not
happen without this Agreement.

C. lnterest at the rate of 5.750% will begin to accrue on the New Principal Balance as of July 01, 2016
and the first new monthly payment on the New Principal Balance will be due on August 01, 2016. My
payment schedule for the modified Loan is as follows:

Monthly Estimated
lnterest Interest Rate Principal and Monthly Escrow Balloon PDeferre(: Lotaltm P tB , 0 Ruml;:r cf
Rate Change Date interest Payment Payment (0% Interest) (;,>ml:? t P en 3;* aymen egms n P Om y
Amoth Amoum* ( o eres ) aymen ayments
$227.88, $906.47,
5.750% July 01, 2016 $678.59 may adjust $ $ may adjust August 01, 2016 233
periodically periodically
May adjust May adjust
5.750% December 01 , 2035 $678.59 periodically $83,688.64 $ periodically January Ol, 2036 l
o May adjust May adjust
A) $ periodically S S periodically
n May adjust May adjust
A’ $ periodically $ $ periodically
May adjust May adjust
% $ periodically $ $ periodically
May adjust May adjust
% $ periodically $ $ periodically

 

 

 

 

 

 

 

 

 

 

*The escrow payments may be adjusted periodically in accordance with applicable law and therefore
my total monthly payment may change accordingly

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The above terms in this Section 3.C. shall supersede any provisions to the contrary in the Loan
Documents, including but not limited to, provisions for an adjustable, step or simple interest rate.

I understand that, if 1 have a pay option adjustable rate mortgage loan, upon modification, the
minimum monthly payment option, the interest-only or any other payment options will no longer be
offered and that the monthly payments described in the above payment schedule for my modified Loan
will be the minimum payment that will be due each month for the remaining term of the Loan. My
modified Loan will not have a negative amortization feature that would allow me to pay less than the
interest due resulting in any unpaid interest being added to the outstanding principal balance

D. l will be in default if I do not comply with the terms of the Loan Documents, as modified by this
Agreement.

E. lf a default rate of interest is permitted under the Loan Documents, then in the event of default under
the Loan Documents, as amended, the interest that will be due will be the rate set forth in Section 3.C.

4. Additional Agreements. l agree to the following:

A. That all persons who signed the Loan Documents or their authorized representative(s) have signed this
Agreement, unless (i) a borrower or co-borrower is deceased; (ii) the borrower and co-borrower are
divorced and the property has been transferred to one spouse in the divorce decree, the spouse who no
longer has an interest in the property need not sign this Agreement (although the non-signing spouse
may continue to be held liable for the obligation under the Loan Documents); or (iii) the Lender has
waived this requirement in writing.

B. That this Agreement shall supersede the terms of any modification, forbearance, trial period plan or
other workout plan that l previously entered into with Lender.

C. To comply, except to the extent that they are modified by this Agreement, with all covenants,
agreements, and requirements of Loan Documents including my agreement to make all payments of
taxes, insurance premiums, assessments, Escrow Items, impounds, and all other payments, the amount
of which may change periodically over the term of my Loan.

D. That this Agreement constitutes notice that the Lender’s waiver as to payment of Escrow Items, if any,
has been revoked, and l have been advised of the amount needed to fully fund my escrow account.

E. That the Loan Documents as modified by this Agreement are duly valid, binding agreements,
enforceable in accordance with their terms and are hereby reaffirmed

F. That all terms and provisions of the Loan Documents, except as expressly modified by this Agreement,
remain in full force and effect; nothing in this Agreement shall be understood or construed to be a
satisfaction or release in whole or in part of the obligations contained in the Loan Documents; and that
except as otherwise specifically provided in, and as expressly modified by, this Agreement, the Lender
and I will be bound by, and will comply with, all of the terms and conditions of the Loan Documents.

G. That, as of the Modification Effective Date, notwithstanding any other provision of the Loan
Documents, if all or any part of the Property or any interest in it is sold or transferred without Lender’s
prior written consent, Lender may, at its option, require immediate payment in full Of all sums secured
by the Mortgage Lender shall not exercise this option if state or federal law, rules or regulations
prohibit the exercise of such option as of the date of such sale or transfer. If Lender exercises this
option, Lender shall give me notice of acceleration. The notice shall provide a period of not less than
30 days from the date the notice is delivered or mailed within which I must pay all sums secured by the
Mortgage. If I fail to pay these sums prior to the expiration of this period, Lender may invoke any
remedies permitted by the Mortgage without further notice or demand on me.

H. That, as of the Modification Effective Date, l understand that the Lender will only allow the transfer
and assumption of the Loan, including this Agreement, to a transferee of my property as permitted
under the Garn St. Germain Act, 12 U.S.C. Section 1701 j-3. A buyer or transferee of the Property will
not be permitted, under any other circumstance, to assume the Loan. Except as noted herein, this
Agreement may not be assigned to, or assumed by, a buyer or transferee of the Property.

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1. That, as of the Modification Effective Date, if any provision in the Note or in any addendum or
amendment to the Note allowed for the assessment of a penalty for full or partial prepayment of the
Note, such provision is null and void.

J. That, 1 will cooperate fully with Lender in obtaining any title endorsement(s), or similar title insurance
product(s), and/or subordination agreement(s) that are necessary or required by the Lender’s
procedures to ensure that the modified mortgage Loan is in first lien position and/or is fully
enforceable upon modification and that if, under any circumstance and not withstanding anything else
to the contrary in this Agreement, the Lender does not receive such title endorsement(s), title insurance
product(s) and/or subordination agreement(s), then the terms of this Agreement will not become
effective on the Modification Effective Date and the Agreement will be null and void.

K. That 1 will execute such other documents as may be reasonably necessary to either (i) consummate the
terms and conditions of this Agreement; or (ii) correct the terms and conditions of this Agreement if an
error is detected after execution of this Agreement. 1 understand that either a corrected Agreement or a
letter agreement containing the correction will be provided to me for my signature At Lender’s
option, this Agreement will be void and of no legal effect upon notice of such error. If 1 elect not to
sign any such corrective documentation, the terms of the original Loan Documents shall continue in
full force and effect, such terms will not be modified by this Agreement, and 1 will not be eligible for a
modification under the Home Affordable Modification Program.

L. Mortgage Electronic Registration Systems, Inc. (“MERS”) is a separate corporation organized and
existing under the laws of Delaware and has an address and telephone number of P.O. Box 2026, Flint,
MI 48501-2026, (888) 679-MERS. 1n cases where the loan has been registered with MERS who has
only legal title to the interests granted by the borrower in the mortgage and who is acting solely as
nominee for Lender and Lender’s successors and assigns, MERS has the right: to exercise any or all of
those interests, including, but not limited to, the right to foreclose and sell the Property; and to take any
action required of Lender including, but not limited to, releasing and canceling the mortgage loan.

M. That Lender will collect and record personal information, including, but not limited to, my name,
address, telephone number, social security number, credit score, income, payment history, government
monitoring information, and information about account balances and activity. In addition, I
understand and consent to the disclosure of my personal information and the terms of the trial period
plan and this Agreement by Lender to (i) the U.S. Department of the Treasury, (ii) Fannie Mac and
Freddie Mac in connection with their responsibilities under the Home Affordability and Stability Plan;
(iii) any investor, insurer, guarantor or servicer that owns, insures, guarantees or services my first lien
or subordinate lien (if applicable) mortgage loan(s); (iv) companies that perform support services for
the Home Affordable Modification Program and the Second Lien Modification Program; and (v) any
HUD certified housing counselor.

N. That if any document related to the Loan Documents and/or this Agreement is lost, misplaced,
misstated, inaccurately reflects the true and correct terms and conditions of the Loan as modified, or is
otherwise missing, I will comply with the Lender's request to execute, acknowledge, initial and deliver
to the Lender any documentation the Lender deems necessary, If the Note is replaced, the Lender
hereby indemnifies me against any loss associated with a demand on the Note. All documents the
Lender requests of me under this Section 4.N. shall be referred to as "Documents." I agree to deliver
the Documents within ten (10) days after 1 receive the Lender’s written request for such replacement

O. That the mortgage insurance premiums on my Loan, if applicable, may increase as a result of the
capitalization which will result in a higher total monthly payment. Furthermore, the date on which 1
may request cancellation of mortgage insurance may change as a result of the New Principal Balance.

1n Witness Whereof, the Lender and 1 have executed this Agreement.

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BORROWER:

l@ilwnlj@§@e~ F_W”

\ QQ,

 

 

 

DAWNYL FREW
Witness Signature Witness Signature
Printed Name: Printed Name:

 

 

ACKNOWLEDGMENT OF BORROWER:

COUNTY oF il !L(`KOG }
SS.

sTATE oF`l` }

On the \` day of B§%gs f , 20&, before me, the undersigned, personally appeared
DAWNYL FREW, personally known 0 me or proved to me on the basis of satisfactory evidence to be the
individual(s) whose name(s) is(are) subscribed to the within instrument and acknowledged to me that he\she\they
did execute the foregoing instrument in his\her\their\ capacity(ies), that by his\her\their signature(s) on the

instrument, the individual(s), or the person upon behalf of which the individual(s) acted, executed the instrument,
and that such individual made such appearance before the undersigned in the City of `Ur\q OlJ , State of

i 0\'~<~
Notary Pubiic ‘/

Printed Name u\Q,\\ § i Qll`él_l§\…k/\“Q/

My commission expires: ®U/\Q% 160 "7 KELL| S_ HARD|NG MACE

NOTARY PUBLlC

SEAL
STATE OF lNDlANA - COUNTY OF BOONE
l\/lY COMM|SS|ON EXP|FlES JUNE 2 2017
_l-__-____*__

 

 

 

 

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BORROWER:

N/A

\H`

Witness Signature Witness Signature

Printed Name: Printed Name:
R\ H

ACKNOWLEDGMENT OF BORROWER:

COUNTY OF }

sTATE oF }

foregoing instrument in his\her\their\ capacity(ies), that by his\her\their signature(s) on the instrument, the
individual(s), or the person upon behalf of which the individual(s) acted, executed the instrument, and that such

individual made such appearance before the undersigned in the City of , State of
\`.
K
NotaryPublic

Printed Name
wm

My commission expires;
~_`_"`

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LENDER:

WILMINGTON TRUST, NATIONAL ASSOCIATION, NOT IN ITS INDIVIDUAL CAPACITY, BUT
SOLELY AS TRUSTEE FOR MFRA TRUST 2014-2

FAY SERVICING, LLC, its attorney-in-fact

By:

Nam . Justin Waddell
l WW
ts:

m

    

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